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               EXHIBIT B
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                                                                                      12/21/2016



NEW YORK UNIVERSITY                                                                  In Reply refer to:
CHARLES SEIFE                                                                        2016-10322
20 COOPER SQUARE 6TH FL
NEW YORK NY 10003 USA                                                                Requester Control #:




Dear Requester:

This is in reference to your request(s) for record(s) from the Food and Drug Administration (FDA)
pursuant to the Freedom of Information Act (FOIA).

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The Electronic Freedom of Information Act (EFOIA) Amendments of 1996 amended the FOIA by
adding section (a)(6)(E), 5 U.S.C. 552(a)(6)(E), to require agencies to consider requests for expedited
processing and grant them whenever a "compelling need" is shown and in other cases as determined
by the agency. The term "compelling need" is defined as (1) involving "an imminent threat to the life or
physical safety of an individual," or (2) in the case of a request made by "a person primarily engaged in
disseminating information, urgency to inform the public concerning actual or alleged Federal
Government activity."

I have determined that your request for expedited processing does not meet the criteria under the
FOIA. You have not demonstrated a compelling need that involves an imminent threat to the life or
physical safety of an individual. Neither have you demonstrated that there exists an urgency to inform
the public concerning actual or alleged Federal Government activity. Therefore, I am denying your
request for expedited processing. The responding agency office will process your request in the order
in which it was received.

You have the right to appeal this determination. Your appeal must be mailed within 90 days from the
date of this response, to: Ms. Catherine Teti, Deputy Agency Chief FOIA Officer, U.S. Department of
Health and Human Services, Office of the Assistant Secretary for Public Affairs, Room 729H, 200
Independence Avenue, S.W., Washington, DC 20201. Please clearly mark both the envelope and your
letter “Freedom of Information Act Appeal.” If you would like to discuss our response before filing an
appeal to attempt to resolve your dispute without going through the appeals process, please contact
this office at: DFOI, 5600 Fishers Lane, Room 1035, Rockville, MD 20857, 301-796-3900,
FDAFOIA@fda.hhs.gov.

You may also contact the HHS FOIA Public Liaison for assistance at: Michael Bell, HHS FOIA Public
Liaison, U.S. Department of Health and Human Services
Office of the Assistant Secretary for Public Affairs, Room 729H, 200 Independence Avenue, S.W.,
Washington, DC 20201, Telephone: (202) 260-0793, E-mail: HHS_FOIA_Public_Liaison@hhs.gov.


If you are unable to resolve your FOIA dispute through our FOIA Public Liaison, the Office of
Government Information Services (OGIS), the Federal FOIA Ombudsman’s office, offers mediation
services to help resolve disputes between FOIA requesters and Federal agencies.
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The contact information for OGIS is: Office of Government Information Services, National Archives and
Records Administration, 8601 Adelphi Road–OGIS, College Park, MD 20740-6001, Telephone: 202-
741-5770, Toll-Free: 1-877-684-6448, E-mail: ogis@nara.gov, Fax: 202-741-5769.


                                                      Sincerely Yours,




                                                      SARAH KOTLER
                                                      Director
